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                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

                                        Case No.: 1:20-cv-23564-MGC

    DAVID WILLIAMS and CAROLL
    ANGLADE, THOMAS MATTHEWS,
    MARTIZA ANGELES, and HOWARD
    CLARK, on behalf of himself and all others similarly
    situated,

    Plaintiffs,

    v.

    RECKITT BENCKISER LLC and
    RB HEALTH (US) LLC,

    Defendants.



    Theodore H. Frank,

    Objector.




                      SUPPLEMENTAL BRIEF OF THEODORE H. FRANK
                    REGARDING INJUNCTION VALUE PURSUANT TO DKT.
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                   Synonyms for tested:

                   approved, certified, proved, creditworthy, dependable, loyal, reliable, safe,
                   tried-and-true, trustworthy, trusty.

           Synonyms for tested, thesaurus.com, https://www.thesaurus.com/browse/tested.




                                             INTRODUCTION
           The Court has asked for evidence concerning “whether consumers (or potential consumers)
   appreciate any substantive difference between a health-related product which is said to be clinically or
   scientifically ‘proven’ and a health-related product which is represented to be clinically or scientifically
   ‘tested.’” Dkt. 84.
           Objector Theodore H. Frank appreciates the opportunity to brief this issue, but respectfully
   observes that this inquiry is too narrow for two reasons. First, the proposed settlement does not merely
   swap out the term “proven” with “tested,” but expressly allows defendants Reckitt Benckiser LLC
   and RB Health (US) LLC (“Defendants”) to assert that Neuriva has been “clinically tested” and
   “shown” to have whatever claimed benefits the defendant wishes to advertise. Dkt. 52-1 at 9. Any
   connotation conveyed by “clinically proven” can be captured with the words “clinically tested”
   buttressed by “shown.” Second, to support final approval of the settlement, the injunction must not
   merely create some hypothetical impression on potential purchasers of Neuriva—it must actually
   benefit class members. Appreciating a substantial difference between the labelling is a necessary
   requisite to any imaginable settlement benefit. Even if this hurdle could be cleared, the settling parties
   have not carried their burden to show the injunction has any value—especially considering that the
   most aggrieved class members are the least likely to examine a bottle of Neuriva again. Frank
   Objection, Dkt. 75 at 22 n.10. The question becomes whether the injunction has any value at all. It
   does not.
           The term “clinically proven” does not significantly differ from “clinically tested”—and any
   daylight disappears entirely with the word “shown”—because the implication of both claims is that
   the product was tested and shown to have the claimed properties. A reasonable consumer would
   conclude that “clinically tested” would not be advertised for products that failed the test—this



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   interpretation is backed by dictionary definitions, the settlement itself, and other authority. Frank joins
   Truth in Advertising’s supplemental brief (Dkt. 92), and incorporates and adopts its arguments by
   reference here.
           Defendants’ own marketing study confirms this empirically. Dkt. 98-2. A 1050-participant
   study found no statistical difference between “clinically proven” and “clinically tested” whatsoever—
   fully 28% of surveyed consumers found the latter term would suggest “likelihood to work” compared
   to 29% who found this for the former term. Id. at 19. Defendants asks the Court to look at only a
   cherry-picked slice of the study—a 150-participant “Brain Health” survey regarding the product’s
   “likelihood to work,” but even this panel survey shows a mere 2% difference in participants’
   “likelihood to buy.” Id. at 21. Plus, contrary to Defendant’s self-serving testimony, it has marketed
   Neuriva using terms with identical scores to the “clinically tested” under Defendant’s cherry-picked
   sample, confirming that the terms are virtually equivalent from customers’ perspective.
           Finally, Defendants’ purported expert testimony provides no discernable methodology at all,
   so is not actually expert testimony.
           The settlement provides up to $2.9 million in attorneys’ fees, premised on a fictional $8 million
   fund that Defendants will never pay and currently has perhaps $450,000 claims against it. Because the
   injunction provides no value to class members—not even a statistically significant difference, let alone
   any class-wide benefit—the upside-down settlement should be rejected.
                                                ARGUMENT

   I.      “Clinically tested” and “shown” implies “clinically proven”

           A.        Dictionary definitions show that the injunction requires no meaningful
                     difference in labelling.
           Defendants attempt to draw a bright line between “clinically tested” referring to a process and
   “clinically proven” referring to an outcome. Dkt. 98 at 1. While superficially correct, in the context of
   consumer behavior the former implies the latter, particularly when combined with the word “shown,”
   an outcome-oriented term which Defendants simply ignore.
           Objector Frank agrees that dictionary definitions can inform Courts on how reasonable
   consumers might interpret promotional materials. Dkt. 98 at 4. These definitions show that “clinically
   tested” and “clinically proven and shown” have overlapping meaning.



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           Defendants stress that “test” generally defines a process whereas “proven” specifies a specific
   outcome for such test, but this is an irrelevant distinction because the settlement does not limit
   Defendants to “clinically tested.” The settlement expressly allows Defendants to advertise Neuriva as
   “clinically tested” (through a process) and “shown” (a claimed result). Defendants do not once
   mention this, even though Objector Frank emphasized it in his objection. Dkt. 75 at ##.
           Thus, Defendants repeatedly underemphasize the overlap of the terms. Defendants quote one
   of the definitions of “test” from Collins Dictionary, but they fail to report that the first non-archaic
   definition under “American English” reads “an examination, experiment, or trial, as to prove the value
   or ascertain the nature of something” (emphasis added). 1 And Collins Dictionary’s first American
   English definition for “prove” is “to test by experiment, a standard, etc.; subject to a testing process;
   try out” (emphases added). 2
           Thus, a product tested and shown to do something has been proven to do that thing.
           Likewise, Defendants quote the dictionary.com definition of “test,” but neglects to mention
   that “proved” is listed as the third synonym for “tested” on the sister site theasaurus.com. 3
   Dictionary.com’s fourth definition of “prove” likewise reads “to subject to a test, experiment,
   comparison, analysis, or the like, to determine quality, amount, acceptability, characteristics, etc.” 4
           Because the settlement allows Defendants to falsely claim its products have been both tested
   and shown to have various superlatives, the proposed settlement does not “obligate[] RB to adopt a
   claim that has a less compelling meaning.” Dkt. 98 at 5.
           Even if Defendants were forbidden from also using the result-oriented word “shown” the
   context of the labelling makes clear that consumers should infer proven. As FTC attorney Richard
   Cleland explained to TINA:

                    a significant number of consumers would not see any difference between the
                    statement “clinically or scientifically proven” and the statement “clinically or
                    scientifically tested.” Both statements, one express and the other implied,

           1   See https://www.collinsdictionary.com/us/dictionary/english/test.
           2   See https://www.collinsdictionary.com/us/dictionary/english/prove.
           3   See https://www.thesaurus.com/browse/tested.
           4   See https://www.dictionary.com/browse/prove.



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                   convey that there is substantial scientific evidence supporting the underlying
                   claim. With regard to the tested claim, whatever reason would there be for the
                   advertiser to claim that a product had been “clinically or scientifically tested”
                   if those tests did not support the underlying claim.

   Dkt. 92-1 (August 9, 2021 email from Cleland).

           B.      The proposed settlement confirms that the settling parties understand
                   “clinically tested” to be a result just as “clinically proven” is.
           In addition to dictionaries, the settling parties serve as their own lexicographers, and the
   settlement here confirms that “clinically tested” is both a process and a result. The settlement does
   not merely permit Defendants to use the word “shown,” it understands that “clinically tested” is an
   equivalent phrase:

                   Any references to “Clinically Proven” on the Neuriva Product labels, an
                   example attached hereto as Exhibit E, shall be changed to “Clinically Tested”
                   or similar language, such as clinical studies have “shown;”

   Settlement, Dkt. 52-1 at 9 (emphasis added).
           The word “shown,” like “proven” is a result, not a process, and the proposed settlement
   expressly finds the term “similar” to “clinically tested.” Defendants’ attempt to distinguish the terms
   on this basis cannot withstand scrutiny.

           C.      Other authority confirms that little daylight exists between “clinically proven”
                   and “clinically tested.”
           The tern “clinically tested” can—and here does—falsely “imply there was scientific support
   for these claims but in fact no reasonable scientific expert would conclude” support exists. Mullins v.
   Direct Dig., Ltd. Liab. Co., 795 F.3d 654, 673 (7th Cir. 2015) (affirming certification). A consumer would
   not naturally understand that “clinically tested” means “clinically tested and proved ineffective” or even
   “clinically tested and unproven.” Neither a reasonable consumer nor anyone else would draw a clear
   line between the terms in conjunction with Defendants’ myriad health claims. Plaintiffs—including
   plaintiffs represented by plaintiffs’ counsel here—regularly argue that “clinically tested” implies
   effectiveness and is therefore misleading. See Corbett v. Pharmacare U.S., Inc., 2021 U.S. Dist. LEXIS
   113801, 2021 WL 2473950 (S.D. Cal. Jun. 17, 2021) (complaint of Coleman and Suciu law firms
   alleging that “clinical studies of Defendants’ proprietary extract have not conclusively established that
   the Products are in fact effective, making the ‘scientific testing’ representation misleading.”); Brady v.



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   Basic Research, L.L.C., 101 F. Supp. 3d 217, 235 (E.D.N.Y. 2015) (complaint of Bursor & Fisher firm
   that “clinically tested” claim was misleading).
           While scientifically a product could be tested and proved ineffective or tested and unproven
   either way, the impression of the overall consumer message suggests the product was tested and
   proved. “Deception may be found based on the ‘net impression’ created by a representation.” FTC v.
   Stefanchik, 559 F.3d 924, 928 (9th Cir. 2009); see also FTC v. Cyberspace.com, LLC, 453 F.3d 1196, 1200-
   01 (9th Cir. 2006). As a reminder, this discussion is somewhat academic in the case of Neuriva because
   neither it nor a supplement containing the same ingredients has ever been tested or achieved any
   results whatsoever. Objection, Dkt. 75 at 4; see also Bellion Spirits LLC v. United States, __F.4th__, 2021
   WL 3438533, 2021 U.S. App. LEXIS 23374, at *19 (D.C. Cir. Aug. 6, 2021) (agreeing that studies did
   not allow scientific conclusions to be drawn about claims where they “included only one component
   of the [product] rather than the full compound.”).
           FTC guidance confirms this commonsense interpretation. Concerning a hypothetical claim
   that a product has been “studied for years” would require support because “[i]n addition to the explicit
   claim that the product has been studied, such phrases likely convey to consumers an implied claim
   that there exists a substantial body of competently-conducted scientific research supporting
   the efficacy of the product.” FTC, DIETARY SUPPLEMENTS: AN ADVERTISING GUIDE                            FOR

   INDUSTRY. 5 See also TINA Supplement, Dkt. 92 at 2-3 (discussing other examples of FTC observing
   that terms like “clinically tested,” “clinic tested ingredients,” and “established” imply not only
   testing—but also proof or scientific legitimacy). FTC also enforced the FTC Act against a
   manufacturer that used claims like “clinically tested” and “research-based” since these imply scientific
   evidence supporting the claim. 6



           5 Available at https://www.ftc.gov/tips-advice/business-center/guidance/dietary-supplements-
   advertising-guide-industry.
           6 Lesley Fair, The Younger Games? FTC challenges anti-aging claims as unsubstantiated (Feb. 21, 2018)
   available at https://www.ftc.gov/news-events/blogs/business-blog/2018/02/younger-games-ftc-
   challenges-anti-aging-claims. The settling parties observe that private plaintiffs cannot enforce the
   FTC Act, but the agency’s enforcement decisions and expertise are relevant to the Court’s inquiry—
   how consumers are likely to interpret the revised labelling under the proposed settlement.



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           Decisions by the National Advertising Division (“NAD”) of the Better Business Bureau
   likewise suggest that “clinically tested” suggests not merely the process of testing, but also implies
   success. The settling parties argue that NAD decisions are not precedent, but they do bear on the
   Court’s inquiry—how consumers would understand the term. The NAD has repeatedly held that
   “clinically tested” implies to consumers “a promise that there is scientific evidence.” TINA Amicus
   Dkt. 83 at 4 (quoting Dkt. 83-2 through 83-4). The reason is clear: when “clinically tested” is raised
   “in the context of a specific performance claim [it] thereby giv[es] rise to the implication that the
   product has been clinically proven.” Id. (quoting Dkt. 83-5); see also Removatron Int’l Corp. v. Federal Trade
   Comm., 884 F. 2d 1489, 1497 (1st Cir. 1989) (“The common-sense net impression of petitioners’
   advertising claims is that their machine can remove hair permanently and that this claim is supported
   by scientific evidence. … [P]etitioners argue that the words ‘clinically tested’ do not mean, and would
   not be taken by a reasonable person as meaning, ‘supported by rigorous scientific tests.’ … Regardless
   of any actual differences, … petitioners have offered no basis for us to find that lay people would
   make such a fine distinction.”).
           The Defendants argue that none of these decisions is relevant and instead point to a decision
   involving Chaser, a product supposed to prevent hangovers. As part of the resolution, the Chaser’s
   manufacturer agreed to replace “clinically proven” with “clinically tested,” but also made several other
   substantive changes addressing NAD’s concerns, including deleting the claims “No headache, no
   nausea, no regrets” and “you can completely counteract the negative effects of alcohol abuse.” Dkt.
   98-1 at 1, 8. The manufacturer also agreed to add several disclaimers to discourage excess drinking. Id.
   at 9. Finally—and unlike Neuriva—the manufacturer had performed a clinical study on the product,
   which led NAD to concluding “the advertiser established a reasonable basis for claiming that Chaser
   can help prevent hangovers and hangover symptoms.” Id. at 8. Contrary to Defendants’ insinuation,
   NAD did not make any findings about the difference between “clinically tested” and “clinically
   proven”—if any—but instead accepted the advertisers’ voluntary adjustments while requesting several
   others. This decision in no way undermines NAD’s consistent findings that “clinically tested” implies
   evidence in support of the claimed properties.




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           D.      Defendants’ own study shows that “clinically tested” is statistically
                   indistinguishable from “clinically proven” in the eyes of consumers.
           The Defendants ask the Court to rely on a study it commissioned including 150 people
   supposedly screened for “Brain Health” and to ignore bottom-line results among all 1050 participants
   showing an insignificant difference in how consumers perceived “clinically tested” and “clinically
   proven.” Dkt. 98 at 8. Notably, the study does not test the terms that Defendants will actually be
   allowed to use under the settlement—“clinically tested” and “shown.”
           Defendants’ study surveyed 1050 respondents, who were sorted by some unknown criteria
   into seven groups of 150 participants. Dkt. 98-2 at 15. Defendants urge the court to look at only the
   “Brain Health” group and only the “likelihood to work” question, but this uses the smaller sample
   size of 150 participants, which is inherently noisy, and leads to contradictory results. 7 For example,
   the “Brain Health” group had 33% for “clinically proven,” compared to 26% for “clinically tested,”
   but also nonsensically returned 28% for “clinically tested & proven,” which was judged the most
   reliable of all label claims by the full survey of 1050. Id. at 19. Defendants apparently suggest something
   idiosyncratic about “Brain Health” consumers makes them unlike other consumers, but the likelier
   explanation is noise from the smaller sample size of that group. For example, while supposedly only
   26% of surveyed customers think “clinically tested” means “likely to work,” fully 30% of them said
   that they “definitely would buy” such a product compared to 32% of those evaluating the “clinically
   proven” claim and 34% for the “clinically tested & proven claim.” Id. at 21. The study did not survey
   respondents for “clinically tested and shown” language. The differences between these figures are
   statistically insignificant at the 95% confidence interval—that means, they are likely caused by random
   sampling rather than a real differences in perception of the terms and customers’ willingness to buy. 8


           7 Defendants stress that “only three claims” ranked as “significantly higher than the Average
   Claim Rating,” but this is a product of the smaller sample size. Sixteen of the claims were statistically
   significant at this level in the full 1050-panelist survey.
           8 Statistical significance is a measure of the likelihood two sampled results indicate the
   measurement of different underlying values rather than random sampling variation. For example, if in
   reality 30% of consumers find the term “clinically tested” meaningful, and supposing only 150 are
   surveyed, then 95% of the time, the results of the survey will fall between 22.67% and 37.33%. In
   terms of a public opinion poll, one would say the margin of error is ±7.33%. In statistical terms, if
   one were to take a fair sample of the population and poll 150 people each time, then 95% of the time



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            Defendants’ own actions prove that they know the small “Brain Health” subgroup is not
    especially reliable and undermines its self-serving testimony. Rachel Sexton declares that:

                    “Clinically Tested” was, at 26% for the Likelihood to Work measure, lower
                    even than the average claim score of 28%. I interpret these results to mean
                    that, as to the measure of Likelihood to Work, that “Clinically Tested” would
                    be among the least likely of the claims tested that RB would ever voluntarily
                    choose to use in its marketing or labeling.

    Dkt. 98-2.                                                             Fig. 1 from Dkt. 1 at 13
            According to this self-serving testimony then,
    Defendants would not “voluntarily” choose to use the slogan
    “nature made it, science proved it” for Neuriva because even
    though it’s one of the strongest of the 38 claims examined in
    the full 1050-panelist survey, exactly like “clinically tested” it
    got only 26% in the Brain Health category. Id. at 19. However,
    RB does use that slogan to market Neuriva. On information
    and belief, it does so voluntarily, and it makes sense that it
    does. The large 1050-panelest survey shows that both
    “clinically tested” and “clinically proven” are among the most
    compelling label claims—at 28% and 29% for “likelihood to
    work.” The 1% gap between these terms is not only
    statistically insignificant, it reflects an artificial environment
    where consumers ranked 38 different claims side-by-side in a
    survey. The marketplace is much more subtle, and most

    the results would land between the confidence interval.
             Mathematically, confidence intervals are calculated using the formula p ± Z*√(p*(1-p)/n),
    where Z*, called the “critical value” is looked up depending on the desired confidence interval.
    Scientists generally use confidence intervals of 95%, which has a value of 1.96. Therefore, the
    confidence interval around the “definitely would buy” results from the “Brain Health” group is 0.3 ±
    1.96√(0.3*(1-0.3)/150), or in other words 30% ± 7.33%. From this it can be seen that the difference
    between “clinically tested” and “clinically proven” at 30% and 32% is statistically insignificant—so
    has a high probability of not reflecting a true difference in consumer views, but only the small sample
    size of the “Brain Health Group.”



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    consumers will not have a chance to compare the new and old-packaging side-by-side, and even if
    multiple different types of package coexist, consumers would not know to look for the changes.
    Defendant make no showing that the statistically insignificant survey difference of 2% in “likelihood
    to buy” will translate into any market difference at all. Much less does it show that the subtle change
    constitutes a class benefit, which is the relevant consideration to grant final approval to the proposed
    settlement.

    II.     Defendant’s purported expert testimony contains no methodology, commonly-
            accepted or otherwise, and therefor does not qualify as expert testimony.
            Finally, Defendants offers the testimony Dr. Punam Keller, who opines that consumers would
    recognize a difference between “tested” and “proven.”
            The Defendants, which argue in its motion to strike that the Court should apply Daubert to
    these proceedings (Dkt. 83 at 13) 9 makes no effort to qualify the Keller declaration as expert testimony
    with a reliable methodology. Kumho Tire Co. v. Carmichael, 526 U.S. 137 (1999) (all expert testimony
    subject to Daubert, not merely the hard sciences). In order for a Court to ascertain reliable expert
    testimony, it must determine whether “the methodology by which the expert reaches his conclusions
    is sufficiently reliable,” which might entail consideration of “(1) whether the expert's methodology can
    be tested; (2) whether the expert's scientific technique has been subjected to peer review and
    publication; (3) whether the method has a known rate of error; (4) whether the technique is generally
    accepted by the scientific community.” Rink v. Cheminova, Inc., 400 F.3d 1286, 1292 (11th Cir. 2005).
            The Keller declaration does not make it this far—it is not that Dr. Keller uses an unreliable
    methodology, but that she uses no discernable methodology at all. To use a reliable methodology, one
    must necessarily use a methodology (i.e. replicable and systematic process of some sort). Keller does



            9   As will be explained in the forthcoming opposition to Defendants’ Motion to Strike,
    Theodore H. Frank’s objection relies on no expert testimony, but instead upon easily-verifiable facts
    that none of the studies cited by the Defendants in support of their label claims actually involve
    Neuriva nor even any product with the same ingredients as Neuriva. The settling parties ask the court
    to strike the Frank declaration based on a shockingly cavalier and false suggestion that Frank
    committed perjury when he declared that he purchased Neuriva for personal use. In fact, Frank
    became a class member before he or any CCAF attorney had reviewed a single document from this
    litigation.



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    not.Her declaration observes that the definitions of “tested” and “proven” differ. It then cites
    evidence not provided to the Court that apparently shows Neuriva purchasers are higher-income,
    older, and more well-educated than average. Dkt. 98-4 at 10-12 (“Research conducted or assembled
    by the marketing professionals in connection with the marketing of the product.”). The Keller
    declaration then argues that this means potential customers will better understand the different
    definitions of “target” and “proven.” There is no methodology in this testimony—it consists of
    rehashing Defendants’ dictionary arguments and asserting that because Neuriva’s alleged customers
    are knowledgeable—that Neuriva customers should know that “tested” is different than “proven”
    because the latter is an outcome rather than a process. Keller does not explain why the word “shown”
    does not serve the same role as “proven.” Keller does not explain why a well-educated consumer
    would not also better understand the context that “clinically tested” implies “clinically proven”
    because the term would be meaningless without this implication. Nor does Keller address a point
    raised by TINA—that empirical research proves that older consumers are more likely to absorb the
    gestalt of advertising rather than fine details. Dkt. 92 at 4. “[T]he only connection between the
    conclusion and the existing data is the expert’s own assertions.” McDowell v. Brown, 392 F.3d 1283,
    1300 (11th Cir. 2004). And “a bald assertion cannot carry the Daubert burden.” United States v. Pon, 963
    F.3d 1207, 1221 (11th Cir. 2020).
            Finally, Keller opines that the settlement administration process itself will highlight the change
    because “at least 13 million actual and target customers of Neuriva…likely saw up to four
    communications specifically aimed at alerting these customers that the product claim had changed.”
    Dkt. 98-4 at 22. In fact, as the Facebook ads themselves demonstrate, class notice primarily alerts
    potential class members they could file a claim. Id. at 53. Given that only 0.17% of the 13 million
    audience has submitted 22,706 claims to date—and likely many of these are not really class members
    at all, but are individuals seeking $20 payments available without proof—it’s doubtful that a significant
    portion of class members have noticed the proposed label change. See Roes v. SFBSC Mgmt., LLC, 944
    F.3d 1035, 1046 n.7 (9th Cir. 2019) (reasoning that a poor claims rate is an indication of inadequate
    notice). Once again, Keller provides no methodology whatsoever to arrive at her conclusion that
    Neuriva’s “customers are particularly likely to appreciate and attend to such changes.” Id. at 22. The




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    court should consider the declaration as an extension of Defendants’ filing, which it substantially
    rehashes. Under Daubert, Keller’s ipse dixit testimony must be excluded.
                                               CONCLUSION
            Objector Frank does not categorically oppose early settlements to class action lawsuits, but
    settlements should put the interests of class members ahead of attorneys. Here, the settling parties
    announced a “$8 million settlement” which currently amounts to perhaps $450,000 in claims filed
    with a $2.9 million unopposed attorneys’ fee award, which will easily outstrip class recovery. The
    settling parties provide no evidence the injunction is worth anything to class members, and
    Defendants’ own research proves the labels statistically indistinguishable in terms of likely sales. Such
    an injunction cannot justify a settlement negotiated to provide attorneys significantly more than class
    members. The settlement should be denied, so that parties can continue litigation, or (more likely)
    renegotiate a settlement that prioritizes class members and not attorneys.


    Date: August 16, 2021                  Respectfully submitted,

                                           /s/ Matthew Seth Sarelson
                                           Matthew Seth Sarelson
                                           DHILLON LAW GROUP, INC.
                                           2100 Ponce De Leon Blvd. Ste 1290
                                           Coral Gables, FL 33134
                                           Phone: 305-773-1952
                                           Email: Msarelson@dhillonlaw.com

                                           M. Frank Bednarz (pro hac vice)
                                           IL ARDC No. 6299073
                                           HAMILTON LINCOLN LAW INSTITUTE
                                           CENTER OF CLASS ACTION FAIRNESS
                                           1145 E. Hyde Park Blvd. Unit 3A
                                           Chicago, IL 60615
                                           Phone: 801-706-2690
                                           Email: frank.bednarz@hlli.org


                                           Attorneys for Objector Theodore H. Frank




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                                    CERTIFICATE OF SERVICE
        I hereby certify that a true and correct copy of the foregoing was filed with the Court via the
    CM/ECF system, which will send notification of such filing to all attorneys of record.

                                         /s/ Matthew Seth Sarelson
                                         Matthew Seth Sarelson




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